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                     UNITED STATES DISTRICT COURT
                         DISTRICT OF MINNESOTA
                     Criminal No. 07-315(MJD/SRN)

UNITED STATES OF AMERICA,         )
                                  )
                Plaintiff,        )     GOVERNMENT’S POSITION WITH
                                  )     RESPECT TO SENTENCING
v.                                )
                                  )
TYRONE SHADALE OAKS,              )
                                  )
                Defendant.        )


     The United States of America submits its position with respect

to sentencing and agrees with the factual findings of the pre-

sentence investigation report (PSR). The government submits that

the applicable total offense level for the defendant is 33 and the

appropriate criminal history category based on the defendant’s

criminal   history   is   VI,   resulting   in   an   advisory   guideline

sentencing range of 235-293 months. The government opposes the

defendant’s motion for a downward departure.

     In his position paper the defendant moves the Court for a

downward departure based on his history and personal circumstances.

The defendant cites his marijuana use and the fact that he left

home at age 14 as bases for the downward departure. The government

submits that the defendant’s history and circumstances do not

warrant a downward departure.

     The defendant stands before the Court at age 34. His criminal

history is extensive beginning at age 14 and continuing steadily

until his arrest for the current offense. The defendant’s criminal

history includes convictions for burglary, weapons and assault
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charges. Moreover, many of the defendant’s arrest occurred while he

was on supervision for a prior offense.

     The defendant’s history is not indicative of a man who has

attempted to overcome his obstacles rather his attitude, behavior

and history are indicative of a man who has no regard for the law

his responsibilities or others.

     The    government     respectfully   request   that    the   defendant’s

motion for a downward departure be denied and that Court sentence

the defendant within the advisory guideline range of 235-293 months

because    such   sentence   is   reasonable   in   light   of    the   factors

contained in 18 U.S.C. § 3553(a).

Dated:     June 19, 2008                  FRANK J. MAGILL, JR.
                                          Acting United States Attorney

                                          S/ Erika R. Mozangue

                                          BY: ERIKA R. MOZANGUE
                                          Assistant U.S. Attorney
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